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 1    UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
 2    ------------------------------x

 3    UNITED STATES OF AMERICA,

 4                  v.                                  16 CR 746 (PKC)

 5    KEITH WELLNER,

 6                       Defendant.

 7    ------------------------------x


 8                                                      New York, N.Y.
                                                        December 18, 2017
 9                                                      10:47 a.m.

10
      Before:
11
                                 HON. P. KEVIN CASTEL
12
                                                        District Judge
13

14                                    APPEARANCES

15    JOON H. KIM
           Acting United States Attorney for the
16         Southern District of New York
      EDWARD IMPERATORE
17     ROBERT W. ALLEN
           Assistant United States Attorneys
18
      LAW OFFICES OF GORDON MEHLER, P.L.L.C.
19         Attorney for Defendant
      GORDON MEHLER
20

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25


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 1                (In open court; case called)

 2               THE COURT:     This is United States of America against

 3    Keith Wellner.      For the government.

 4               MR. IMPERATORE:      Good morning, your Honor.

 5               Edward Imperatore and Robert Allen for the government.

 6    With us at counsel table is Special Agent Joseph Strawman of

 7    the FBI.

 8               THE COURT:     Good morning.

 9               And for the defendant.

10               MR. MEHLER:     Good morning, your Honor.

11               Gordon Mehler M-E-H-L-E-R,        747 Third Avenue, New York

12    New York 10017.

13               THE COURT:     Good morning, Mr. Mehler.         And good

14    morning, Mr. Wellner.

15               THE DEFENDANT:      Good morning.

16               THE COURT:     Mr. Wellner, I've been told that you wish

17    to enter a plea of guilty to several counts of the indictment,

18    Counts One through Six.        And before I can accept a guilty plea

19    from you I must be satisfied that you understand the rights you

20    would have if this case went to trial and the rights you're

21    giving up by pleading guilty.         Also, I must be satisfied that

22    there is a factual basis for your plea of guilty and you

23    understand the consequences of the plea of guilty.

24               So, in a moment, I'm going to have the clerk place you

25    under oath and I'm going to ask you certain questions and


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 1    inform you of certain rights.           If I ask you something or I tell

 2    you something and you don't quite understand, please let me

 3    know and I'll put it into different words.             Also, if at any

 4    point in this proceeding you wish to speak in private with your

 5    lawyer I will give you the opportunity to do that.

 6                Do you understand all that?

 7                THE DEFENDANT:     Yes,    I do.   Thank you, your Honor.

 8                THE COURT:    Please stand and the clerk will administer

 9    the oath.

10                (Defendant sworn)

11                THE COURT:    Now, Mr. Wellner, you're now under oath

12    and your answers to my questions are subject to the penalties

13    of perjury or of making a false statement if you do not answer

14    truthfully.     Also, anything you say today may be used in such a

15    prosecution.

16                Do you understand all that?

17                THE DEFENDANT:     I do.

18                THE COURT:    How old are you, sir?

19                THE DEFENDANT:     Fifty.

20                THE COURT:    And how far did you go in school?

21                THE DEFENDANT:     I have two postgraduate degrees.

22                THE COURT:    What are they in?

23                THE DEFENDANT:     One's in law, a JD in law; and one is

24    an MBA in business.

25                THE COURT:    Are you now or have you recently been


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 1    under the care of a medical doctor?

 2               THE DEFENDANT:      I am under the care of a medical

 3    doctor.

 4               THE COURT:     For what condition?

 5               THE DEFENDANT:      Just general anxiety related.

 6               THE COURT:     What type of medication do you take?

 7               THE DEFENDANT:      I currently take anti anxiety

 8    medication and anti depressive medication.

 9               THE COURT:     Do those medications affect the clarity of

10    your thinking?

11               THE DEFENDANT:      No, they don't.

12               THE COURT:     Have you been under the care of a

13    psychiatrist or been treated for a mental illness other than

14    what you've described to me so far?

15               THE DEFENDANT:      No.

16               THE COURT:     Ever been addicted to any substance,

17    alcohol, marijuana, prescription medications, anything?

18               THE DEFENDANT:      No.

19               THE COURT:     How do you feel today?

20               THE DEFENDANT:      I feel fine.     Thank you.

21               THE COURT:     Do you understand what's happening?

22               THE DEFENDANT:      I do.

23               THE COURT:     Mr. Mehler, any doubt's as to your

24    client's competence to proceed?

25               MR. MEHLER:     None at all, your Honor.


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 1                THE COURT:    Based on his responses to my questions and

 2    my observations I find that the defendant is fully competent to

 3    enter an informed plea in this case.

 4                Now, Mr. Wellner, have you taken advantage of the

 5    opportunity to discuss this case and the charges and how you

 6    might go about defending the charges with your lawyer,

 7    Mr. Mehler?

 8                THE DEFENDANT:     Yes, I have.

 9                THE COURT:    Have you had enough time to consider all

10    of your options in this case?

11                THE DEFENDANT:     Yes, I have.

12                THE COURT:    Are you satisfied with your lawyer's

13    representation of you?

14                THE DEFENDANT:     Yes, I am.

15                THE COURT:    I'm now going to explain to you the rights

16    you would have if this case went to trial and the rights you're

17    giving up by pleading guilty.          Under the Constitution and laws

18    of the United States, you are entitled to a speedy and public

19    trial by an impartial jury on the charges contained in the

20    indictment.

21                Do you understand that?

22                THE DEFENDANT:     I do.

23                THE COURT:    At such a trial you would be presumed to

24    be innocent.     You would not have to prove that you were

25    innocent.     The government would be required to prove each


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 1    element of each crime by proof beyond a reasonable doubt.

 2    Before you could be convicted of any charge, a jury would have

 3    to find unanimously that you were guilty.

 4               Do you understand all that?

 5               THE DEFENDANT:      I do.

 6               THE COURT:     If there were a trial, at every stage of

 7    the case you would be entitled to be represented by a lawyer

 8    and if you could not afford a lawyer, one would be appointed at

 9    public expense.

10               Do you understand all that?

11               THE DEFENDANT:      I do.

12               THE COURT:     If there were a trial, the witnesses for

13    the government would have to come to court to testify.                You

14    would be able to see and hear them.           Your lawyer could

15    cross-examine them.       Your lawyer could object to evidence

16    offered by the government.         Your lawyer could present evidence

17    and could ask the Court to compel witnesses to appear at trial

18    on your behalf.

19               Do you understand all that?

20               THE DEFENDANT:      I do.

21               THE COURT:     If there were a trial, you would have the

22    right to testify if you chose to do so.            You could come up here

23    and take the witness stand.         Also, you would have the right not

24    to testify and no one would be permitted to draw any inference

25    or suggestion of guilt from the fact that you decided not to


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 1    testify.

 2               Do you understand that?

 3               THE DEFENDANT:      I do.

 4               THE COURT:     Now, if there were a trial and the jury

 5    found you guilty, you would have the right to appeal that

 6    finding.

 7               Do you understand that?

 8               THE DEFENDANT:      I do.

 9               THE COURT:     Now, those are the rights you would have

10    if you went to trial.        If I accept a guilty plea from you there

11    will be no trial.       You will proceed to the sentencing phase in

12    which the Court will determine the punishment to be imposed on

13    you.   Even now you have the right to change your mind.               Instead

14    of pleading guilty, you may plead not guilty and go to trial.

15               Do you wish to plead not guilty and go to trial?

16               THE DEFENDANT:      No, I do not.

17               THE COURT:     Now, I'm going to go through the charges

18    and the maximum punishment.

19               Count One of the indictment charges you with

20    conspiracy to commit investment adviser fraud and securities

21    fraud from in or about 2011 through in or about 2012.

22               Do you understand that's what you're charged with?

23               THE DEFENDANT:      Yes, I do.

24               THE COURT:     The maximum penalty on Count One is five

25    years of imprisonment, a maximum term of three years of


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 1    supervised release, a maximum fine of the greatest of $250,000

 2    or twice the gross pecuniary gain derived from the offense, or

 3    twice the gross pecuniary loss to a person other than yourself

 4    as a result of the offense, and a mandatory $100 special

 5    assessment.

 6               Do you understand all that?

 7               THE DEFENDANT:      I do.

 8               THE COURT:     Counts Two and Three of the indictment

 9    each charge you with investment advisor fraud from in or about

10    2011 through in or about 2012.          Each of Counts Two and Three

11    carry a maximum of -- maximum sentence of five years

12    imprisonment, a maximum term of three years of supervised

13    release, a maximum fine of the greatest of $250,000, twice the

14    gross pecuniary gain derived from the offense, or twice the

15    gross pecuniary loss to a person other than yourself as a

16    result of the offense, and a mandatory $100 special assessment.

17               Do you understand that that's the maximum penalty on

18    Count Two and it's also separately the maximum penalty on Count

19    Three.

20               Do you understand all of that?

21               THE DEFENDANT:      I do.

22               THE COURT:     Do you understand that Counts Four and

23    Five charge you with securities fraud from in or about 2011

24    through in or about 2012?

25               Do you understand that?


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 1                THE DEFENDANT:      Yes, I do, your Honor.

 2                THE COURT:     Do you understand that each of Counts Four

 3     and Five carry a maximum sentence of 20 years imprisonment, a

 4     maximum term of three years of supervised release, a maximum

 5     fine of the greatest of $5 million, twice the gross pecuniary

 6     gain derived from the offense, or twice the gross pecuniary

 7     loss to a person other than the defendant as a result of the

 8     offense, and a mandatory $100 special assessment?

 9                Do you understand all of that?

10                THE DEFENDANT:      Yes, your Honor, I do.

11                THE COURT:     Do you understand that Count Six of the

12     indictment charges you with conspiracy to commit wire fraud

13     from in or about 2011 through in or about 2012?

14                Do you understand that?

15                THE DEFENDANT:      I do.

16                THE COURT:     Do you understand that Count Six carries a

17     maximum sentence of 20 years imprisonment, a maximum term of

18     three years supervised release, a maximum fine of the greatest

19     of $250,000 or twice the gross pecuniary gain derived from the

20     offense or twice the gross pecuniary loss to a person other

21     than yourself as a result of the offense, and a mandatory $100

22     special assessment?

23                Do you understand all of that?

24                THE DEFENDANT:      I do, your Honor.

25                THE COURT:     In addition to the foregoing, the Court


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 1    must order restitution to any person who I find was injured by

 2     reason of your criminal conduct.

 3                Do you understand that?

 4                THE DEFENDANT:     Yes, your Honor, I do.

 5                THE COURT:    All right.     One moment, please.

 6                (Pause)

 7                Mr. Mehler, is your client prepared to admit the

 8     forfeiture allegations in paragraphs 52 and 53 of the

 9     indictment?

10                MR. MEHLER:     Yes, he is, your Honor.        I would point

11     out that there was $120,000 that he received and disgorged

12     before this even became a criminal investigation.

13                THE COURT:     That may be the case but the question for

14     today's purposes is whether he admits to the forfeiture

15     allegation or denies the forfeiture allegation; and if he

16     admits it, then the amount of forfeiture will be determined at

17     another point in time and there is no understanding or

18     agreement as to the amount of that forfeiture as I understand

19     it.   Is that correct?

20                MR. MEHLER:     Yes.   That's correct.      That's correct,

21     your Honor.

22                THE COURT:     Do you understand that, Mr. Wellner?

23                THE DEFENDANT:      I do.

24                THE COURT:    And as I've told you, the Court must order

25     that you make restitution to any person I find was injured by


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 1     reason of your criminal conduct.

 2                Do you understand that?

 3                THE DEFENDANT:      I do.

 4                THE COURT:    Now, with respect to supervised release,

 5     there are terms and conditions attached to it; and if you do

 6     not live up to those terms and conditions you can be returned

 7     to prison for the full period of supervised release.

 8                So, say you get a prison term to be followed by a

 9    period of three years supervised release and you finish the

10    prison term and you're on supervised release and you live up to

11     the terms of supervised release for two years but then you

12     violate one of the provisions.         You may be returned to prison

13     for a full period of three years.

14                Do you understand that?

15                THE DEFENDANT:      I do.

16                THE COURT:    Mr. Wellner, are you a U.S. citizen?

17                THE DEFENDANT:      I am.

18                THE COURT:    By pleading guilty you may give up, in

19     fact, you will give up other valuable civil rights, such as the

20     right to vote, to hold public office, to sit on a jury, to

21    possess a firearm, to hold certain other licenses, and to

22     receive government benefits, certain government benefits.

23                Do you understand that?

24                THE DEFENDANT:      I do.

25                THE COURT:    Are you serving any other sentence, state


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 1     or federal, or being prosecuted in any other court for any

 2     other crime?

 3                THE DEFENDANT:     No, I am not.

 4                THE COURT:     In sentencing you, I will receive a

 5    presentence report prepared by the office of probation that

 6     gives me background information and a recommended range of

 7     sentence under the sentencing guidelines.           After hearing from

 8     your lawyer and from the government, I will make my own

 9     determination of the correct guideline range that applies in

10     this case.     Even after determining the correct guideline range

11     I need not follow it and can sentence you all the way up to the

12     statutory maximum.      The guidelines are advisory and they are

13     not binding on the court.        They are one of the factors that the

14     Court takes account of in determining a sentence under a

15     statute which is commonly referred to as Section 3553(a).

16                Do you understand all that?

17                THE DEFENDANT:     Yes, I do.

18                THE COURT:    You will only be permitted to appeal or

19     collaterally attack a sentence on the basis that the sentence

20     is unreasonable or contrary to law.

21                Do you understand that?

22                THE DEFENDANT:      I do.

23                THE COURT:    Now, I understand there has been a plea

24     agreement reached between you and the government and it's

25     reflected in a five-page letter agreement on the letterhead of


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 1     the U.S. Department of Justice bearing a date of November 28,

 2     2017 and addressed to Mr. Mehler.

 3                I'm going to ask the clerk to place that document in

 4     front of you.

 5                Take a look at it and tell me if that is your plea

 6     agreement with the government.

 7                THE DEFENDANT:      It is, your Honor.

 8                THE COURT:     Is that your signature on the last page?

 9                THE DEFENDANT:      It is, your Honor.

10                THE COURT:     Did you read it before you signed it?

11                THE DEFENDANT:     Yes, I have.

12                THE COURT:     Did you discuss it with your lawyer before

13     you signed it?

14                THE DEFENDANT:     Yes, I have.

15                THE COURT:     Did you understand it before you signed

16     it?

17                THE DEFENDANT:     Yes, I did.

18                THE COURT:    Has anyone threatened you or forced you in

19     any way to enter into the plea agreement or to plead guilty?

20                THE DEFENDANT:     No, they have not.

21                THE COURT:    Has anyone given you anything of value or

22    promised you anything in order to get you to enter into the

23    plea agreement or to plead guilty?

24                THE DEFENDANT:     No, they have not.

25                THE COURT:    Does the plea agreement contain all of


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 1     your understandings with the government?

 2                THE DEFENDANT:     Yes, it does.

 3                THE COURT:     I want you to know that any calculation,

 4     estimate, or prediction that anyone has made to you as to what

 5     sentence I might give you is not binding on me, not binding on

 6     the Court, and if it turns out to be wrong you will not be

 7    permitted to withdraw your guilty plea.

 8                Do you understand that?

 9                THE DEFENDANT:     Yes, sir.

10                THE COURT:    Now, one of the features of your agreement

11     with the government is that you have agreed to provide the

12     government with substantial assistance and truthful cooperation

13     including testifying if asked to do so; is that correct?

14                THE DEFENDANT:     That is correct.

15                THE COURT:     It's up to the government, not up to me,

16     to decide whether your cooperation has been substantial enough

17     for the government to ask that I take account of it in

18     sentencing.     I cannot second guess that decision.          But if they

19     do ask me to take account of substantial assistance, it is up

20     to me, up to the Court to decide whether to grant their

21     request.    And if I do take account of your substantial

22     assistance it's up to me to decide how much weight or

23     consideration to give to it.

24                Do you understand all of that?

25                THE DEFENDANT:     Yes, your Honor.


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 1                THE COURT:     If the government declines to make such a

 2    motion or request or if they do but I decline to accept their

 3     recommendation or grant their motion, you will not be permitted

 4     to withdraw your plea of guilty.

 5                Do you understand all of that?

 6                THE DEFENDANT:     Yes, I do.

 7                THE COURT:    Now, I'm going to have the government

 8     layout the elements of the six crimes to which you've offered

 9     to plead guilty and this is -- this would be in summary what

10     the government would have to prove if the case went to trial as

11     well as the manner in which they would prove it.

12                MR. IMPERATORE:      Yes, your Honor.

13                Count One of the indictment charges the defendant,

14     Keith Wellner, with conspiracy to commit investment advisor

15     fraud and securities fraud,       in violation of 18 U.S.C. Section

16     371.

17                The elements of the conspiracy are as follows:

18                First, that two or more persons entered into the

19     unlawful agreement charged in the indictment in Count One; and

20     second, that the defendant knowingly and willfully joined in

21     that agreement; and third, that one of the members of the

22     conspiracy committed at least one of the overt acts charged in

23     the indictment and that the overt act was committed to further

24     some objective of the conspiracy.

25                There are two charged objects of the conspiracy


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 1     charged in Count One.       The first object is to commit investment

 2     advisor fraud in violation of 15 U.S.C. Sections 80b-6 and

 3     80b-17.

 4                That crime has five elements:

 5                First, that the investment advisor named in the

 6     indictment, Albert Hallac was, in fact, an investment advisor;

 7                Second, that the investment advisor did one of the

 8     following:     (a) employed a device, scheme or artifice to

 9     defraud an actual or prospective investor advisory client;               (b)

10     engaged in a transaction, practice, or course of business which

11     operated as a fraud and deceit upon those investment advisory

12     clients or prospective investment advisory clients; or (c)

13     engaged in an act, practice, and course of business that was

14     fraudulent, deceptive and manipulative;

15                Third, that the investment advisor, again Albert

16     Hallac, devised or participated in such alleged device, scheme

17     or artifice to defraud, or engaged in such alleged transaction,

18    practice, or course of business, knowingly, willfully, and with

19     the intent to defraud;

20                Fourth, that the investment advisor, Albert Hallac,

21     employed such alleged device, scheme, or artifice to defraud or

22     engaged in such alleged transaction, practice or course of

23     business by use of the mails or an instrumentality of

24     interstate commerce; and

25                Fifth, that the defendant aided and abetted the


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 1     investment adviser willfully and knowingly associated himself

 2     in some way with the crime, and by willfully and knowingly

 3     seeking by some act to help make the crime succeed.

 4                The second element or, excuse me, the second object of

 5     the conspiracy charged in Count One is to commit securities

 6     fraud in violation of 15 U.S.C. sections 78j(b) and 78ff, and

 7     to violate Title 17 of the Code of Federal Regulations Section

 8     240.10b-5.      That rule sets forth three elements of securities

 9     fraud:

10                First, that in connection with the purchase or sale of

11     stock or shares in a company the defendant did any one or more

12     of the following:

13                A.    employed a device, scheme or artifice to defraud,

14                made an untrue statement of a material fact or omitted

15     to state a material fact which was made -- which made what was

16     said under the circumstances misleading, or

17                Engaged in an act, practice, or course of business

18     that operated or would operate as a fraud or deceit upon a

19    purchaser or seller;

20                Second, that the defendant acted unlawfully,

21     knowingly, willfully and with the intent to defraud; and

22                Third, that the defendant used or caused to be used

23     any means or instruments of transportation or communication in

24     interstate commerce or the use of the mails, or of any facility

25     of any national securities exchange in furtherance of the


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 1     fraudulent conduct.

 2                Counts Four and Five -- excuse me.          Counts Two and

 3     Three charge the defendant with aiding and abetting the

 4     investment advisor fraud of Albert Hallac, in violation of

 5     Sections 80b-6 and 80b-l7 of Title 15 of the United States

 6     Code, and Section 2 of Title 18 of the United States Code.

 7                The elements of investment advisor fraud are the same

 8     as I just read with respect to the investment advisor fraud

 9     object of the conspiracy charged in Count One.

10                Counts Four and Five of the indictment charge the

11     defendant with securities fraud in violation of sections 78j(b)

12     and 78ff of Title 15 of the U.S. Code.

13                THE COURT:     Is it Title 15?

14                MR. IMPERATORE:       Yes, your Honor, for securities fraud

15     it's Title 15.

16                THE COURT:    All right.     Because in your plea

17     agreement-- okay.       I see.     I misread it.     You're correct.

18     Thank you.

19                MR. IMPERATORE:       And Title 15 of the United States

20     Code and Section 240.10b-5 of Title 17 of the Code of Federal

21     Regulations.     The elements of securities fraud are the same as

22     I just read with respect to the securities fraud object of the

23     conspiracy charged in Count One.

24                Count Six of the indictment charges Keith Wellner, the

25     defendant, with conspiracy to commit wire fraud in violation of


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 1     Section 1349 of Title 18 of the United States Code.

 2                The elements of the conspiracy are:

 3                First, that two or more persons entered into an

 4     agreement charged in the indictment, here to commit wire fraud;

 5     and

 6                Second, that the defendant knowingly and willfully

 7     became a member of conspiracy.

 8                The object of the conspiracy charged in Count Six is

 9     wire fraud in violation of Title 18 United States Code Section

10     1343.

11                There are three elements of wire fraud.

12                First, that there was a scheme or artifice to defraud

13     or to obtain money or property by materially false and

14     fraudulent pretenses, representations or promises as alleged in

15     the indictment;

16                Second, that the defendant knowingly participated in

17     the scheme or artifice to defraud with knowledge of its

18     fraudulent nature and with specific intent to defraud; and

19                Third, that in the execution of that scheme the

20     defendant used or caused the use of the interstate wires, in

21     other words, wires between states.

22                So those are the elements of the six charges against

23     the defendant in the indictment.

24                In addition, the government must prove by a

25    preponderance of the evidence that venue is proper in the


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 1     Southern District of New York as to each count.

 2                Your Honor, in terms of the proof against the

 3     defendant, the government would prove that the defendant is

 4     guilty beyond a reasonable doubt as to each count in the

 5     indictment.     The evidence would consist of both documents and

 6     witness testimony.      Documents would include, among other

 7     things, the defendant's e-mail communications, investment

 8     documentation, and bank and brokerage records reflecting the

 9     disbursement of investor funds.         Witnesses would include, among

10     others, a cooperating witness, investor victims, law

11     enforcement witnesses, and other percipient witnesses.

12                THE COURT:    Mr. Wellner, please tell me in your own

13     words that leads you to believe that you are guilty of each of

14     these six crimes.

15                THE DEFENDANT:     Good morning, your Honor.

16                From December 2007 until May/June 2012, I was the

17     chief operating officer, general counsel and chief compliance

18     officer of Weston Capital Management, LLC.            Weston Capital

19    Management had a wholly-owned subsidiary, Weston Capital Asset

20    Management, LLC, which was a registered investment advisor.                 I

21     served in similar capacities for this registered investment

22     advisor.    Each of these Weston entities had offices in

23     New York, Connecticut and Florida.          Weston managed

24     approximately ten hedge funds for its investors.             My plea today

25     involves three of those hedge funds mainly the partners fund 2


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 1     or P2, the Wimbledon financing fund or WFF, and Wimbledon TT or

 2     just TT.    Because of the complexity of the transactions, I have

 3    made some notes that I will be referring to today.

 4                In early 2010, WFF entered into a transaction with

 5     Gerova Financial Group, in which WFF exchanged all of its

 6     assets for stock of Gerova.        By early 2011, Gerova was

 7     essentially insolvent and the WFF stock became worthless.               In

 8     the spring of 2011, Albert Hallac and Jeffrey Hallac were

 9     approached by David Bergstein with a proposal for WFF to

10     receive some of its former assets back from Gerova in exchange

11     for returning the worthless Gerova stock.            In order to

12     accomplish this exchange, Bergstein proposed a complicated

13     transaction where he would arrange for a loan to be taken from

14     a large European bank and secured by the assets received back

15     by WFF and deposited into a newly formed entity.             This entity

16     was called Arius Libra.       This entity was majority owned by WFF

17     and approximately 34 percent owned by Mr. Bergstein himself.

18    When the loan that Mr. Bergstein promised did not come to

19     fruition within the necessary timeframe, in August 2011,

20    Mr. Bergstein convinced Albert Hallac to have P2 provide a

21     loan.   This loan was for the benefit of WFF.           I committed a

22     fraud in assisting Mr. Hallac in negotiating and agreeing to

23     have P2 provide the loan to Arius Libra, which was ultimately

24     for the benefit of WFF.       While I believed that this loan would

25     be repaid, the existence of the loan was material information


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 1     that was not disclosed to either investors in P2 or WFF.

 2    Mr. Bergstein continued to draw monies under the P2 loan

 3     through November 2011 and I assisted and agreed with Mr. Hallac

 4     in providing those subsequent monies to Mr. Bergstein.               The

 5     failure to disclose this loan was a conflict of interest in

 6     that the loan was made by P2, it was secured by the assets of

 7    Arius Libra, which were previous WFF assets, without the

 8     knowledge of either P2 or WFF investors, thus placing the

 9     interests of P2 and WFF investors at odds with each other.

10     Prior to P2 making the loan to Arius Libra and for the benefit

11     of WFF investors, P2 was invested in hedge fund securities and

12     a portion of the monies from the liquidation of these hedge

13     fund securities was used to fund the Arius Libra loan.

14                Additionally, in November 2011 Mr. Bergstein

15     approached Mr. Hallac once again with another transaction,

16     namely entering into a swap agreement with an entity that

17    Mr. Bergstein controlled called Swartz IP Services, Inc.                The

18    Weston controlled fund that was to be the counterparty to the

19     swap agreement was Wimbledon TT.          In connection with entering

20     into that swap agreement, I assisted and agreed with Albert

21     Hallac, who had a fiduciary duty to TT investors, in committing

22     a fraud on TT investors by helping to negotiate and approve the

23     TT portfolio entering into an undisclosed swap transaction with

24    Mr. Bergstein's entity, Swartz IP Services.             The existence of

25     this swap transaction was material information, should have


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 1     been disclosed, and created a conflict of interest through the

 2     ultimate use of the funds and additionally caused TT fund

 3     assets to be invested into an entity whose credit risk was

 4     substantially inferior to its prior investments.             The money

 5     used to fund the swap was liquidated from certain hedge fund

 6     securities by Mr. Hallac.

 7                All of the conduct described above involved the

 8     exchange of e-mails between people located in multiple states,

 9     including at least New York, Florida, and California.              At least

10     some of the conduct described above occurred while I was in

11    Manhattan, New York City.

12                For all the conduct described above, I was aware that

13     the conduct was wrong at the time I was doing it and the funds

14     involved were used in a manner that was outside the stated

15    mandate in the offering memoranda.           In each case, I neither

16     disclosed the material information to the relevant investors

17     nor did I contact the fund's outside counsel and advise them of

18     such information.

19                THE COURT:     Thank you.

20                Does the government agree there's a sufficient factual

21    predicate for a plea of guilty to Counts One through Six?

22                MR. IMPERATORE:      Yes, your Honor.

23                And I'd like to just give a brief proffer on the

24     securities at issue.

25                THE COURT:    Yes.


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 1                MR. IMPERATORE:      As to Count Four, the predicate

 2     securities are, first, the note between Weston Capital Partners

 3    Master Fund II and Arius Libra, Inc.; and, second, Weston's

 4     interest in the Sagil Latin America Opportunities Fund, which

 5     was redeemed on or about June 30, 2011.

 6                As to Count Five, the predicate securities are:

 7     First, the Swartz IP Services group, Inc. Note Purchase

 8    Agreement, and any notes issued in accordance with it; and

 9     second, Weston's notional interest in the Tewksbury hedge fund

10     and all agreements between Weston and Societe Generale entities

11     executed in furtherance of Weston's interest.

12                THE COURT:    All right.

13                Mr. Mehler, any basis to challenge the government's

14    proffer?

15                MR. MEHLER:     None, Your Honor.

16                THE COURT:    All right.

17                MR. MEHLER:     I believe the allocution is sufficient.

18                THE COURT:    All right.     Are you aware, Mr. Mehler, of

19     any defense that would likely prevail at trial or any reason

20     why your client should not be permitted to plead guilty?

21                MR. MEHLER:     I am not aware of any reason or

22     impediment.

23                THE COURT:    All right.

24                Mr. Wellner, do you have any questions for me?

25                THE DEFENDANT:     No, your Honor.


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 1                THE COURT:    All right.     With regard to Count One of

 2     the indictment, how do you plead, guilty or not guilty?

 3                THE DEFENDANT:     Guilty.

 4                THE COURT:    With regard to Count Two of the

 5     indictment, how do you plead, guilty or not guilty?

 6                THE DEFENDANT:     Guilty.

 7                THE COURT:    With regard to Count Three of the

 8     indictment, how do you plead, guilty or not guilty?

 9                THE DEFENDANT:     Guilty.

10                THE COURT:    With regard to Count Four of the

11     indictment, how do you plead, guilty or not guilty?

12                THE DEFENDANT:     Guilty.

13                THE COURT:    With regard to Count Five of the

14     indictment, how do you plead, guilty or not guilty?

15                THE DEFENDANT:     Guilty.

16                THE COURT:    With regard to Count Six of the

17     indictment, how do you plead, guilty or not guilty?

18                THE DEFENDANT:     Guilty.

19                THE COURT:    With regard to paragraphs 52 and 53 of the

20     indictment containing the forfeiture allegations, do you admit

21     those allegations or do you deny those allegations?

22                THE DEFENDANT:      I admit them, your Honor.

23                THE COURT:    Based upon your responses to my questions

24     and my observations of your demeanor,          I find that you know your

25     rights, you know the consequences of pleading guilty and there


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 1     is a factual basis for your plea of guilty.            Your plea of

 2     guilty and your admission to the forfeiture allegations are

 3     accepted.     Further, I find that your plea agreement was

 4     knowingly and voluntarily entered into.

 5                 Now, I'm not going to order a presentence

 6     investigation report at this juncture.           I will set a control

 7     date for sentencing but that may be and probably will be

 8     adjusted.

 9                 Eventually there will be a presentence investigation

10     and it's important that you be candid, truthful and honest with

11     the people who prepare the presentence report.             Tell them the

12     good things and the not-so-good things because the report will

13     be important in my decision on sentencing.            Before the day of

14     sentencing, you'll have an opportunity to review that report.

15     Go through it carefully.        If there are mistakes, point them out

16     to your lawyer so that he can point them out to me.

17                 Let me give you a control date for sentencing.            Any

18     thoughts from the government on the when?

19                 MR. IMPERATORE:     Subject to the Court's views we might

20    propose six months.

21                 THE COURT:    I'm going to set a control date for

22     sentencing and it will be May 30 at 10 a.m.

23                 Anything further from the government?

24                 MR. IMPERATORE:     No, your Honor.

25                 THE COURT:   Anything further from the defendant?


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 1                MR. MEHLER:     No, your Honor.

 2                THE COURT:    All right.      Thank you all very much.

 3                (Adjourned)

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